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                                      FOR PUBLICATION

                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

                  HECTOR NAVARRO; MIKE                               No. 13-55323
                  SHIRINIAN; ANTHONY PINKINS;
                  KEVIN MALONE; REUBEN CASTRO,                         D.C. No.
                                Plaintiffs-Appellants,              2:12-cv-08051-
                                                                     RGK-MRW
                                       v.

                  ENCINO MOTORCARS, LLC,                                ORDER
                  erroneously sued as Mercedes Benz
                  of Encino,
                                  Defendant-Appellee.


                         On Remand from the United States Supreme Court

                                         Filed July 19, 2018

                    Before: Susan P. Graber and Kim McLane Wardlaw,
                    Circuit Judges, and James C. Mahan,* District Judge.


                                               ORDER

                    On remand from the Supreme Court, Encino Motorcars,
                 LLC v. Navarro, 138 S. Ct. 1134 (2018), no further issues
                 remain. The district court’s judgment is AFFIRMED.


                     *
                       The Honorable James C. Mahan, United States District Judge for the
                 District of Nevada, sitting by designation.
